                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:08cr15


UNITED STATES OF AMERICA,                        )
                                                 )
                               Plaintiff,        )
               v.                                )                       ORDER
                                                 )
LAWRENCE B. GILLESPIE, JR.,                      )
                                                 )
                               Defendant.        )




       THIS MATTER is before the Court on the government’s motion to amend the

preliminary order of forfeiture filed herein on July 14, 2008, pursuant to Fed. R. Crim. P.

32.2(c), to account for the third-party interests of an individual identified as W.V. in Lincoln

County, North Carolina, and the Lincolnton, North Carolina, Police Department. (Doc. No. 82).

The government has represented that the subject firearms were stolen from W.V. and from the

Lincolnton Police Department (“claimants”) and has recommended that they be deemed to have

filed third-party claims to those assets.

       For good cause shown,

       IT IS THEREFORE ORDERED that the preliminary order filed July 14, 2008, is

amended to account for the ownership interests of claimants in the following firearms, which

shall be returned to claimants as proposed by the government:




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a. one (1) Glock .45, model 37 GAP, Serial Number GBH546; and,

c. one (1) Smith & Wesson .38 revolver, model Super Light, Serial Number J62709.


                                     Signed: April 27, 2009




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